Case 2:17-cv-10721-JTM-JVM Document 294-35 Filed 12/15/20 Page 1 of 6




                   EXHIBIT 32
Case 2:17-cv-10721-JTM-JVM Document 294-35 Filed 12/15/20 Page 2 of 6
Case 2:17-cv-10721-JTM-JVM Document 294-35 Filed 12/15/20 Page 3 of 6
Case 2:17-cv-10721-JTM-JVM Document 294-35 Filed 12/15/20 Page 4 of 6
Case 2:17-cv-10721-JTM-JVM Document 294-35 Filed 12/15/20 Page 5 of 6
Case 2:17-cv-10721-JTM-JVM Document 294-35 Filed 12/15/20 Page 6 of 6
